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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE: Tami Tarita Muhammad,                          )        CASE NO. 18-50891-jwc
                                                      )
                                                      )        CHAPTER 13
         Debtor                                       )
------------------------------------------------------)-------------------------------------------------------------
Tucker Square 670, LLC                                )
a/a/f Tucker Square Apartment Homes                   )
                                                      )
         Movant                                       )
v.                                                    )        CONTESTED MATTER
                                                      )
Tami Muhammad,                                        )
                                                      )
         Debtor                                       )
                                                      )
Nancy J. Whaley, Trustee                              )
                                                      )
         Respondents                                  )

             MOTION FOR ORDER CONFIRMING TERMINATION OF STAY

         COMES NOW Movant Tucker Square 670, LLC a/a/f Tucker Square Apartment Homes

and files this Motion for Order Confirming Termination of Stay showing the Court as follows:

                                                         1.

         Debtor having filed a voluntary petition pursuant to 11 U.S.C. § 701 et seq. is subject to

the jurisdiction of this Court.



                                                         2.

         The Court has jurisdiction over this Motion pursuant to 11 U.S.C. § 362. This is a core

proceeding pursuant to 28 U.S.C. § 157.

                                                         3.
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        This is a Motion pursuant to 11 U.S.C. §§ 362(c) and 362(j) of the Bankruptcy Code for

an Order confirming the stay has terminated.

                                                  4.

        Debtor previously filed a voluntary petition under Chapter 13, Bankruptcy case number

17-67528crm. Said case was dismissed on January 18, 2018. See Exhibit “A” attached hereto.

                                                  5.

        Pursuant to 11 U.S.C. § 362 (c)(3)(A), Debtors are only entitled to an automatic stay for

thirty (30) days from the date of filing the petition as a repeat filer within one year of a

previously dismissed bankruptcy case. This case was filed January 19, 2018 and therefore the

stay has terminated. § 362(c)(3)(A) explicitly states the “stay . . . with respect to any action taken

with respect to . . . any lease shall terminate with respect to the debtor on the 30th day after the

filing of the later case.”

                                                  6.

        Debtor moved this Court for an extension of the automatic stay pursuant to 11 U.S.C. §

362 (c)(3)(B), which requires a repeat filer, such as Debtor, to move the Bankruptcy Court to

extend the automatic stay beyond the thirty days. However, that extension expired on April 24,

2018.

                                                  7.

        Movant and Debtor have a lease agreement for property located at 1313 Stone Run, Apt.

1319C, Stone Mountain, Georgia 30083. Debtor is in breach of said lease agreement for failure

to pay rent.

        WHEREFORE, Movant prays for the following relief:

        (A) an Order confirming the automatic stay is no longer in effect in this case
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       (B) that this Court deny any extension of the automatic stay as to Movant;

       (B)    for such other and further relief as the Court deems just and equitable.

       Dated: May 11, 2018.
/s/ Randal M. Hughes
                                            Randal M. Hughes
                                            Attorney for Movant
                                            Self & Associates, LLC
                                            Ga. Bar No. 131864
Self & Associates, LLC
P.O. Box 7990
Atlanta, GA 30357
404-259-5648
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IN RE: Tami Tarita Muhammad,                          )        CASE NO. 18-50891-jwc
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                                                      )
         Movant                                       )
v.                                                    )        CONTESTED MATTER
                                                      )
Tami Muhammad,                                        )
                                                      )
         Debtor                                       )
                                                      )
Nancy J. Whaley, Trustee                              )
                                                      )
         Respondents                                  )
                                       CERTIFICATE OF SERVICE
         I hereby certify that on May 11, 2018, I served the following parties by electronically

filing the foregoing Motion for Order Confirming Termination of Stay using the CM/ECF

system, or through first class mail:

Trustee:
Nancy J. Whaley, Standing Ch. 13 Trustee
303 Peachtree Center Avenune
Suite 120, Suntrust Garden Plaza
Atlanta, GA 30303
(678) 992-1201

Attorney for Debtor:
Howard P. Slomka
Slipakoff & Slomka, PC
Overlook 111 – Suite 1700
2859 Paces Ferry Rd., SE
Atlanta, GA 30339
(404) 800-4001
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Debtor:
Tami Muhammad
1313 Stone Run, Apt. 1319C
Stone Mountain, Georgia, 30083



                                         /s/ Randal M. Hughes
                                         Randal M. Hughes
                                         Attorney for Movant
                                         Self & Associates, LLC
                                         Ga. Bar No. 131864
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